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                                                 U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                    The Jacob K. Javits Federal Building
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278


                                                     April 26, 2024

BY ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Robert Menendez, et al.,
               S4 23 Cr. 490 (SHS)

Dear Judge Stein:

        The Government respectfully writes in the above-captioned matter to notify the Court and
the defendants that the Government has filed with the Classified Information Security Officer a
classified submission in camera and under seal, but not ex parte, in support of its motion pursuant
to Section 6(a) of the Classified Information Procedures Act.

                                             Respectfully submitted,

                                             DAMIAN WILLIAMS
                                             United States Attorney

                                      By:    s/ Eli J. Mark
                                             Eli J. Mark
                                             Daniel C. Richenthal
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                                             MATTHEW G. OLSEN
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                                             National Security Division

                                      By:    s/ Christina A. Clark
                                             Christina A. Clark
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cc:    (by ECF)

       Counsel of Record
